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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


DEBORAH D. PETERSON,
Personal Representative of the Estate of
James C. Knipple (Dec.) et al.,                  Case No. 10 CIV 4518 (BSJ)

                          Plaintiffs,           FILED UNDER SEAL

              V•                                CONTAINS CONFIDENTIAL
                                                MATERIAL SUBJECT TO
ISLAMIC REPUBLIC OF IRAN, et al.,               PROTECTIVE ORDER

                          Defendants.




 DEFENDANT BANK MARKAZI'S MEMORANDUM OF LAW IN SUPPORT OF ITS
      MOTION TO DISMISS THE SECOND AMENDED COMPLAINT FOR
              LACK OF SUBJECT MATTER JURISDICTION




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         Defendant Bank Markazi ("Bank Markazi" or "the Bank"), the Central Bank of Iran,

respectfully submits this Memorandum of Law in support of its Motion pursuant to Fed. R. Civ.

P. 12(b)(1) (the "Motion") to dismiss the Second Amended Complaint dated December 7, 2011

(the "Complaint") and all Cross-Claims asserted by any Third Party Respondent (as defined in

the Coutr's November 29, 2011 Scheduling Order, Dkt. # 157) in this action (the "Tunrover

Action") for lack of subject matter jurisdiction under the Foreign Sovereign Immunities Act (the

"FSIA" or the "Act"), 28 U.S.C. §§ 1602-1611.

                                 PRELIMINARY STATEMENT

         At stake in this Tunrover Action are over $1.75 billion in assets (the "Restrained Bonds")

that have been restrained at Citibank N.A. ("Citibank") in New York since June 2008. The

Restrained Bonds consist of security entitlements of Clearstream Banking, S.A. ("Clearstream")

with Citibank relating to an investment by Bank Markazi in certain sovereign and supranational

bonds. It is undisputed that the Restrained Bonds were held, through Clearstream nad UBAE

SpA ("UBAE"), for the ultimate benefit of Bank Markazi such that Bank Markazi has a

beneficial ownership interest in those assets.

         As the Court is aware, President Obama signed an Executive Order on February 5, 2012

blocking all property and "interests in property" of Bank Markazi in the United States. As Bank

Markazi unquestionably has an interest in the Restrained Bonds, those assets have now been

blocked. Pursuant to the Executive Order, the Executive Branch has control of the Restrained

Bonds, but the Executive Order had no impact on ownership of those assets.

         Both Clearstream's pending December 22, 2011 Motion to Vacate the Restraints

("Clearstream's Motion") and the instant Motion raise threshold issues the Court will need to

determine before this Turnover Action cna proceed, as a matter of law. If the Court grants either



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motion, this case will be at an end and the Restrained Bonds will remain exactly where they are

now     frozen at Citibank   pending further action by the President.

         Clearstream's Motion goes to the issue of ownership.           Specifically, Clearstream

demonstrates that under Article 8 of the New York Uniform Commercial Code ("UCC"), the

security entitlements that have been restrained (and now blocked) in New York are not

attachable because they are not Bank Markazi's entitlements vis-à-vis Clearstream, they are

Clearstream's entitlements vis-d-vis Citibank. If the Court grants Clearstream's Motion on that

basis and determines that no attachable property interest of Bank Markazi is present in the

United States, then it need not reach the principal issue addressed in this Motion, namely the

immunity of the Restrained Bonds from attachment and execution under section 1611(b)(1) of

the FSIA.

         Plaintiffs have taken the position that the blocking of the Restrained Bonds pursuant to

the Executive Order "moots" all of the arguments that Clearstream and Bank Markazi have

raised because Plaintiffs now have an automatic right to seize those assets under section 201 of

the Terrorism Risk Insurance Act of 2002 ("TRIA"). Plaintiffs' position is incorrect for at least

three reasons.    First, Clearstream's Motion remains dispositive of Plaintiffs' claims in this

Tunrover Action because TRIA section 201, on its face, applies only to the "blocked assets of

Bank Markazi. Thus, the Court will need to determine whether Bank Markazi actually owns the

Restrained Bonds under the UCC       the precise issue addressed in Clearstream's Motion.

         Second, should the Court conclude, contrary to Clearstream's argument, that Bank

Markazi actually owns the Restrained Bonds, the Court will then need to determine whether

subject matter jurisdiction exists under the FSIA. More specifically, the Coutr will need to

determine whether the Restrained Bonds are immune from attachment and execution under



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section 1611(b)(1) of the FSIA. As demonstrated in this Motion, the heightened immunity of

central bank property under that provision of the FSIA overrides any claim Plaintiffs may have

under TRIA section 201.

          The United States Court of Appeals for the Second Circuit has determined that where, as

here, "funds are held in an account in the name of a central bank or monetary authority, the funds

are presumed to be immune from attachment under § 1611(b)(1)." NML Capital, Ltd. v. Banco

Central de la RepUblica Argentina, 652 F.3d 172, 194 (2d Cir. 2011) (emphasis added).

         The only way Plaintiffs could overcome that presumption is "by demonstrating with

specificity" that the Restrained Bonds " are not being used for central banking functions as such

functions are normally understood. " Id. (emphasis added). Not only have Plaintiffs failed to

meet that burden here, but the allegations in the Complaint are in fact consistent with Bank

Markazi's use of the Restrained Bonds as an investment of the Bank's foreign currency

reserves        a classic central banking function.

         Third, Plaintiffs' claim under TRIA section 201 fails for the additional reason that

application of section 201 in the circumstances presented here would violate the Treaty of Amity

between the United States and Iran. The United States Supreme Court has instructed that a

statute should not be deemed to abrogate existing United States treaty obligations absent a clear

expression of congressional intent to override the treaty. TRIA section 201 evidences no such

congressional intent.

         For all of these reasons and the additional reasons discussed below, the Complaint must

be dismissed.




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                       PROCEDURAL AND FACTUAL BACKGROUND
                        A.     Plaintiffs' Underlying Judgment Against Iran

          Plaintiffs are judgment creditors with respect to a $2.65 billion default judgment they

obtained against the Islamic Republic of Iran ("Iran") and the Iranian Ministry of Information

and Security ("MOIS") in the United States District Court for the District of Columbia. On May

30, 2003, Judge Royce Lamberth of that court entered judgment on liability against Iran and

MOIS pursuant to former section 1605(a)(7) of the FSIA for providing material support to

Hezbollah in connection with the bombing of the United States Marine barracks in Beirut,

Lebanon on October 23, 1983. See Peterson v. Islamic Republic of Iran, 264 F. Supp. 2d 46

(D.D.C. 2003).      Judge Lamberth later entered a September 7, 2007 judgment in favor of

Plaintiffs in the aggregate amount of $2,656,944,877.00 and allocated the amount awarded

among the individual Plaintiffs. Compl. Ex. B.

         There was never any allegation in the underlying action in the District of Columbia, nor

is there any allegation in the present Complaint, that Bank Markazi played any role in the

bombing of the United States Marine barracks in Beirut in 1983.

                        B.     Plaintiffs' Enforcement Proceeding

         In response to a subpoena from the Plaintiffs, the U.S. Treasury Department's Office of

Foreign Assets Control ("OFAC") disclosed to Plaintiffs on June 11, 2008 that it was in receipt

of information indicating inter alia that "Clearstream has an Iranian government client that has a

beneficial ownership interest in assets custodied in the United States," and that "Clearstream has

a sub-custodial account in the United States with Citibank[.]" Compl. Ex. C, at 2. The assets

that were the subject of OFAC's disclosure consisted of U.S. dollar-denominated security

entitlements with an aggregate face value of $2.003 billion. Id.



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         As Plaintiffs subsequently learned    and as OFAC confirmed in an April 23, 2010 letter

to the Plaintiffs   the "Iranian government client" and beneficial owner of the Restrained Bonds

referenced in OFAC's June 11, 2008 letter is in fact Bank Markazi. Compl. 48. 1 As of June

2008, the Restrained Bonds were housed for the benefit of Bank Markazi in an account

maintained by defendant Banca UBAE SpA ("UBAE") with Clearstream in Luxembourg.                    See

Compl. 7.

         Following OFAC's initial June 11, 2008 disclosures, Plaintiffs commenced an

enforcement proceeding in the Southenr District of New York, Peterson v. Islamic Republic of

Iran, Case. No. 18 Misc. 302 (S.D.N.Y.) (the "Enforcement Proceeding") and, on June 12, 2008,

obtained a writ of execution from the Clerk of this court directed at "goods and chattels of [sic]

Islamic RepUblic of Iran who has an interest in accounts held by Citibank[.]" Compl. Ex. C

(emphasis added).

         Plaintiffs subsequently served restraining notices on Clearstream on June 16, 2008 and on

Citibank on June 17, 2008. Compl. 55. The purported legal basis for those restraining notices

was section 5222 of the New York Civil Practice Law and Rules ("CPLR")               New York's post-

judgment attachment statute. Compl.     ¶ 55; id. Ex. D.
         Shortly thereatfer, Citibank moved to quash the writ of execution and the restraining

notices in the Enforcement Proceeding.        Compl.      ¶   57.   As a result, Clearstream "delivered

documentary and testimonial evidence" during a hearing before Judge John G. Koeltl, acting as

Patr I judge of this court, on June 27, 2008. Id. Following that hearing, Judge Koeltl issued an




i   OFAC's April 23, 2010 letter is attached as Exhibit A to the March 15, 2012 Declaration of David M.
    Lindsey ("Lindsey Declaration"). A copy of that document was attached as Exhibit G to Plaintiffs'
    First Amended Complaint.

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order vacating the restraints on two securities with an aggregate face value of $250 million.

Compl. it 58 & id. Ex. E.

         The aggregate face value of the remaining security entitlements          i.e., the Restrained

Bonds that are the subject of this Turnover Action       is thus $1.753 billion (not including interest

accrued since June 2008). In the more than three and a half years that the Restrained Bonds have

now been frozen, most of the underlying securities have matured and been redeemed. The

proceeds resulting from such redemptions, as well as periodic interest payments since June 2008,

are frozen at Citibank. See Compl. 123.

                        C.     The Instant Turnover Action

         Following OFAC's confirmation on April 23, 2010 that the "Iranian governmental client"

and beneficial owner of the Restrained Bonds referenced in OFAC's June 11, 2008 letter is in

fact Bank Markazi, Plaintiffs commenced this Turnover Action.2

         Plaintiffs subsequently filed an Amended Complaint dated October 19, 2010 (the First

Amended Complaint"). By motion dated May 11, 2011, Bank Markazi moved to dismiss the

First Amended Complaint for lack of subject matter jurisdiction under the FSIA.

         However, further briefing on Bank Markazi's May 11, 2011 Motion to Dismiss the First

Amended Complaint was deferred pursuant to the Court's June 27, 2011 Order consolidating the

Enforcement Proceeding and the Tunrover Action and authorizing Citibank to interplead certain

other plaintiffs with judgments or claims against Iran (the "Third Party Respondents").

         Following Citibank's interpleader of the Third Party Respondents, the Court held a status

conference with counsel for the parties on October 31, 2011. During that status conference,

2
    By Order dated June 8, 2010, the Court permitted plaintiffs to file their initial complaint in the
    Turnover Action under seal and ordered that all subsequent filings in the Tunrover Action likewise
    would be under seal. The June 8, 2010 Order was based on a Protective Order entered by Judge
    Lamberth on June 11, 2008, which was intended to protect the confidential information disclosed by
    OFAC.

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Plaintiffs expressed their desire to amend their pleading in light of the Second Circuit's opinion

in NML Capital.

                        D.      Clearstream's Motion To Vacate the Restraints

          By motion dated September 4, 2008 in the Enforcement Proceeding, Clearstream moved

to vacate the writ of execution and restraining notices. The extensive briefing on that motion

was not completed until April 18, 2011.

          As directed by the Court at the October 31, 2011 status conference, Clearstream filed a

Renewed Motion to Vacate the Restraints (the "Clearstream Motion") on December 22, 2011 in

the now consolidated Turnover Action. The Clearstream Motion demonstrates that the restraints

must be vacated because they violate, inter alia, the provisions of Article 8 of the New York

Uniform Commercial Code and section 5201 of the CPLR as well as the attachment nad

execution provisions of the FSIA.

                        E.      Blocking Of The Restrained Bonds Pursuant To Executive Order
                                No. 13599

         On December 31, 2011, President Obama signed into law the National Defense

Authorization Act for Fiscal Year 2012 ("NDAA"), Pub. L. No. 112-81. Section 1245 of the

NDAA is titled "Imposition of Sanctions with Respect to the Financial Sector of Iran."

         On February 6, 2012, President Obama issued Executive Order No. 13599 dated

February 5, 2012 (the "Executive Order") pursuant to, inter alia, section 1245 of the NDAA and

the Intenrational Emergency Economic Powers Act ("IEEPA"). 3 Sections 1(a) and 1(b) of the

Executive Order provide for the blocking of 101 property and interests in property of . . . the




3
    Executive Order No. 13599 is attached as Exhibit B to the Lindsey Declaration.

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    Central Bank of Iran, that are in the United States, that hereatfer come within the United States,
                                                                                                          /,4
or that are or hereatfer come within the possession or control of any United States person

           Because Bank Markazi plainly has an "interest in" the Restrained Bonds, those assets

have been blocked pursuant to the Executive Order.5

                            F.      Pending Legislation Directed Specifically At This Tunrover Action

           Plaintiffs have acknowledged publicly that they are working closely with members of

Congress to pass legislation directed specifically at this case and designed to preclude the

arguments Clearstream and Bank Markazi have raised to date in this Turnover Action.

           Legislation to that effect has been introduced in both Houses of Congress           in the Senate

as section 503 of Senate Bill S-2101 and in the House as H.R. 4070. If some version of this

legislation becomes law, Plaintiffs will undoubtedly race to this Court to declare this case

finished in their favor with no further argument needed. Bank Markazi reserves its right to

supplement this Memorandum of Law as and when appropriate in the event that S-2101, H.R.

4070, or any other, comparable legislation becomes law and will certainly have substantive

arguments against Plaintiffs' evolving positions.

                                                ARGUMENT

                   I.      Standard Applicable To This Motion

           "In a motion to dismiss [for lack of subject matter jurisdiction] pursuant to Fed. R. Civ. P.

12(b)(1), the defendant may challenge either the legal or factual sufficiency of the plaintiff s

assertion of jurisdiction, or both. " Robinson v. Government of Malaysia, 269 F.3d 133, 140 (2d

Cir. 2001).

4      Executive Order No. 13599, §§ 1(a) & 1(b) (emphasis added).
5      See Feb. 14, 2012 letter from Citibank's counsel to Hon. Barbara S. Jones and Hon. Gabriel W.
       Gorenstein ("Citibank wishes to advise the Court that the restrained funds at issue in this litigation
       have been designated as blocked funds and are being held in a Citibank account established in
       accordance with OFAC regulations.").

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         This Motion challenges the legal sufficiency under the FSIA of the subject matter

jurisdiction allegations in the Complaint. 6 As the Court has aptly stated, a movant in Bank

Markazi's position will prevail if it "accept[s] whatever it is that the plaintiffs want to allege or

say that they might find in discovery" and demonstrates that none of those allegations can

overcome the presumption that the Restrained Bonds are immune from attachment and execution

under the FSIA. See 10/31/11 Hrg. Tr. at 37:5-19. That is what this Motion does.7

         To be clear: except where this Memorandum of Law explicitly identifies a specific

factual allegation as undisputed, Bank Markazi does not acknowledge the truth of the allegations

in the Complaint. Bank Markazi's position is that the allegations in the Complaint are irrelevant

for purposes of determining whether this Court has subject matter jurisdiction over Plaintiffs'

claims in this Turnover Action under the FSIA. In other words, even assuming that Plaintiffs

could establish the truth of their allegations, the Restrained Bonds would still be immune from

attachment and execution under the FSIA.

         In light of Bank Markazi's prima facie showing that the Restrained Bonds are entitled to

immunity from attachment and execution under the FSIA, Plaintiffs will bear the burden, in

opposition to this Motion, of "going forward with evidence showing that, under exceptions to the

FSIA, immunity should not be granted[.]" Cargill Int'l S.A. v. M/T Pavel Dybenko, 991 F.2d

1012, 1016 (2d Cir. 1993) (citation omitted).               Unless Plaintiffs can meet their burden of


6
    Under the FSIA, "both statutory subject matter jurisdiction (otherwise known as 'competence') and
    personal jurisdiction tunr on application of the substantive provisions of the Act. " Verlinden B. V. v.
    Central Bank of Nigeria, 461 U.S. 480, 485 n.5 (1983).
7
    In support of its May 11, 2011 Motion to Dismiss the First Amended Complaint, Bank Markazi
    submitted affidavits from two Bank employees as well as an expert opinion concerning the immunity
    of foreign central bank property under FSIA section 1611(b)(1). The May 11, 2011 Motion to
    Dismiss was filed before the Second Circuit issued its opinion in NML Capital. As demonstrated in
    this Memorandum of Law, there is no longer any doubt following NML Capital that the Restrained
    Bonds are immune under FSIA section 1611(b)(1). Accordingly, Bank Markazi has not submitted
    any extrinsic evidence in support of this Motion.

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production, the Complaint will be subject to dismissal as a matter of law. See, e.g., Orkin v.

Swiss Confederation, 770 F. Supp. 2d 612, 616 (S.D.N.Y. 2011), aff'd, 444 Fed. Appx. 469 (2d

Cir. 2011) ("conclusory assertions offact or law" are insufficient to avoid dismissal for lack of

subject matter jurisdiction under the FSIA) (emphasis added).

         Nor may Plaintiffs forestall dismissal by claiming that they require discovery from Bank

Markazi.        Plaintiffs may seek discovery from Bank Markazi "only to verify allegations of

specific facts crucial to an immunity determination. " EM Ltd. v. Republic of Argentina, 473

F.3d 463, 486 (2d Cir. 2007) (emphasis added).            Here, however, Bank Markazi's Motion

demonstrates that on the face of the Complaint, the Restrained Bonds are immune from

attachment nad execution under the FSIA.            Accordingly, Plaintiffs are not entitled to any

discovery from Bank Markazi.8

                   II.   Plaintiffs' Claim Pursuant To TRIA Section 201 Fails Because The
                         Restrained Bonds Are Not "Assets Of' Bank Markazi

         As previously stated, 141 property and interests in property" 9 of Bank Markazi in the

United States have been blocked as of February 6, 2012 pursuant to Executive Order No. 13599,

which President Obama issued pursuant to his statutory authority under, inter alia, the NDAA

and IEEPA.          Accordingly, the Restrained Bonds are now blocked, as Bank Markazi

unquestionably has an "interest in" those assets.




8
    See Sniado v. Bank Austria AG, No. 00-cv-9123 (AGS), 2001 WL 812236, at *1 (S.D.N.Y. July 18,
    2001) ("Discovery is not necessary for a party opposing a facial challenge to subject matter
    jurisdiction."); Berces v. Debrecen Tartositoipari Kombinat, No. 94 Civ 3381 (KMW), 1995 WL
    640486, at *1 (S.D.N.Y. Oct. 31, 1995) (claims against a sovereign instrumentality "must be
    dismissed without allowance of even limited discovery" where a "facial attack [on subject matter
    jurisdiction under the FSIA] succeeds"); Gabay v. Mostazafan Foundation of Iran, 151 F.R.D. 250,
    255 (S.D.N.Y. 1993) (a plaintiff's claim may be "so legally insufficient that he is precluded from
    discovery as a matter of law").
9
    Executive Order, §§ 1(a) & 1(b) (emphasis added).

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          Bank Markazi's "interest in" the Restrained Bonds, however, is not dispositive under

TRIA section 201. Instead, the Restrained Bonds are subject to attachment and execution under

TRIA section 201 only if they are "assets of' Bank Markazi. Whether the Restrained Bonds are

"assets of' Bank Markazi turns on whether the Bank owns those assets. Clearstream's Motion

addresses that issue. 10

         Bank Markazi has consistently maintained that it has a beneficial ownership interest in

the Restrained Bonds. Indeed, it is undisputed that the Restrained Bonds "are held ultimately for

the benefit of Bank Markazi. " 11 This does not mean, however, that Bank Markazi is the owner

of those assets.

         As Clearstream has demonstrated, Bank Markazi is not in fact the owner of the

Restrained Bonds, which are Clearstream's security entitlements vis-à-vis Citibank.              Bank

Markazi's property         in the form of the Bank's security entitlements vis-à-vis Clearstream     is

located in Luxembourg.          Both under New York law (including Article 8 of the UCC) and

Luxembourg law, no property interest of Bank Markazi exists in the United States. 12 And Bank

Markazi's propetry interest in Luxembourg is not attachable in any event under the FSIA, which


10   Importantly, at the time Bank Markazi filed its May 11, 2011 Motion to Dismiss Plaintiffs' First
     Amended Complaint, the Bank did not yet have access to the filings under seal in the related
     Enforcement Proceeding, Peterson v. Islamic Republic of Iran, Case. No. 18 Misc. 302 (S.D.N.Y.),
     including Clearstream's arguments in support of its then-pending Motion to Vacate the Restraints.
     The reason Bank Markazi did not have access to those filings is because Plaintiffs objected to the
     Bank's request for access.
     Since it did not have access to, and was not aware of, Clearstream's arguments (or Plaintiffs'
     arguments in response), Bank Markazi expressly reserved its right to amend or supplement its
     arguments based on "any newly discovered facts and circumstances" and/or "any additional
     arguments [by Plaintiffs] purportedly derived from the filings under seal." See Bank Markazi's May
     11, 2011 Memorandum of Law in Support of Its Motion to Dismiss the Amended Complaint for Lack
     of Subject Matter Jurisdiction, at p. 7 n.3.
     Under these circumstances, any attempt by Plaintiffs to question Bank Markazi's reliance on
     Clearstream's arguments in this Motion would be disingenuous at best and must be rejected.
     Clearstream Br. at 21.
12   See id. at 30-38.

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contains no exception to immunity for the propetry of a sovereign party located outside the

United States. 13

         In sum, as discussed below, the Restrained Bonds are not "assets of' Bank Markazi for

purposes of TRIA section 201 because the Bank does not actually own those assets under

applicable law. The Complaint must be dismissed.

                         A.       The Blocking Of The Restrained Bonds Pursuant To The
                                  Executive Order Transferred Control—But Not Ownership Of
                                  Those Assets To The Executive Branch

         The freezing or blocking of propetry by the Executive Branch "transfers possessory

interest in the property. " Smith ex rel. Estate of Smith v. Federal Reserve Bank of New York, 346

F.3d 264, 272 (2d Cir. 2003) (emphasis in original). However, such freezing or blocking has no

impact on ownership of the property. See id. As the United States Supreme Court stated in

Dames & Moore v. Regan, 453 U.S. 654, 673 (1981), "the congressional purpose in authorizing

blocking orders is to put control of foreign assets in the hands of the President[1" Id. (intenral

quotation and citation omitted). In contrast, "the IEEPA does not give the President the power to

`vest' or to take title to the assets. " Id. at 672 n.5.

         In keeping with the nature and effect of blocking as just described, the Executive Order

here provides that all "property and interests in property" of Bank Markazi in the United States

"may not be transferred, paid, exported, withdrawn or otherwise dealt in. " 14 As a result, the



13   See id. at 38-40. See, e.g., Fidelity Partners, Inc. v. Philippine Export and Foreign Loan Guarantee
     Corp., 921 F. Supp. 1113, 1119 (S.D.N.Y. 1996) ("Under the FSIA, assets of foreign states located
     outside the United States retain their traditional immunity from execution to satisfy judgments entered
     in United States courts.").
14   Executive Order, §§ 1(a) & 1(b). The Executive Order further provides for the blocking of any
     property "within the possession or control of any United States person. " Id. The Executive Order
     defines the term "United States person" to mean "any United States citizen, permanent resident alien,
     entity organized under the laws of the United States or any jurisdiction within the United States
     (including foreign branches), or any person in the United States. " Executive Order, §7(c). The
     NDAA includes a separate definition of the term "United States person" as "(A) a natural person who

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Executive Branch now has control of the Restrained Bonds. The Executive Order, however,

does not impact the ownership of those assets. In other words, whoever owned the Restrained

Bonds as of February 4, 2012          the day before President Obama signed the Executive Order

continues to own those assets today.

                          B.      The Restrained Bonds Are Not "Assets Of' Bank Markazi

         Section 201 of TRIA, Pub. L. No. 107-297, Title II, § 201, 116 Stat. 2337 (2002)

(codified as a note to section 1610 of the FSIA), provides no basis for the seizure of the

Restrained Bonds because that provision applies only to "blocked assets of' a terrorist party.

Subsection (a) of section 201 provides in pertinent part:

                 Notwithstanding any other provision of law, and except as
                 provided in subsection (b), in every case in which a person has
                 obtained a judgment against a terrorist party on a claim based upon
                 an act of terrorism, or for which a terrorist party is not immune
                 under section 1605(a)(7) of title 28, United States Code, the
                 blocked assets of that terrorist patry (including the blocked assets
                 of any agency or instrumentality of that terrorist party) shall be
                 subject to execution or attachment in aid of execution in order to
                 satisfy such judgment to the extent of any compensatory damages
                 for which such terrorist party has been adjudged liable.



    is a citizen or resident of the United States or a national of the United States . . . and (B) an entity that
    is organized under the laws of the United States or a jurisdiction within the United States." NDAA §
    1245(h)(3).
    Plaintiffs claim, in opposition to Clearstream's Motion to Vacate the Restraints, that Clearstream
    must be deemed a "United States person" under the Executive Order because there are purportedly
    "extensive contacts between Clearstream and the United States. " See Plaintiffs' March 12, 2012
    Opposition to Clearstream's Renewed Motion to Vacate Restraints, at 22-24. On that basis, Plaintiffs
    claim that Clearstream is "subject to the jurisdiction of the United States" under section 1702(a)(1)(B)
    of IEEPA, 50 U.S.C. § 1702(a)(1)(B).
    Plaintiffs cite no support for this assertion, and it is incorrect as a matter of law. It is undisputed that
    Clearstream "is a banking corporation organized under the laws of [the] Grand Duchy of
    Luxembourg" maintaining "operational centres in Luxembourg, Germany and Singapore." Compl.
    40. Therefore, Clearstream is not a "United States person. " See, e.g., Glen v. Club Méditerranée
    S.A., 365 F. Supp. 2d 1263, 1273-74 (S.D. Fla. 2005) (rejecting argument that French corporation
    having its principal place of business in France was "subject to the jurisdiction of the United States"
    for purposes of the Cuban Assets Control Regulations and deeming irrelevant plaintiffs' allegation
    that the French corporation engaged in "substantial business in the United States").

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28 U.S.C. §1610, note regarding "Treatment of Terrorist Assets" (emphasis added).15

                                  1.      The Restrained Bonds Cannot Be Deemed "Assets Of'
                                          Bank Markazi Unless the Bank Actually Owns Those
                                          Assets

          Only assets actually owned by Bank Markazi qualify as "assets of' Bank Markazi under

TRIA section 201.

                 The plain lnaguage of TRIA § 201 requires both that the [assets in
                 question] be "blocked assets" and that these blocked assets be "of
                 that terrorist party."       The Supreme Court has determined that
                 "the use of the word 'of denotes ownership." For [a blocked
                 asset] to be attachable, then, [the terrorist party] must actually own
                 it.

Calderon-Cardona v. JP Morgan Chase Bank, 1V.A., --- F. Supp. 2d                     , No. 11 Civ. 3283

(DLC), 2011 WL 6155987, at *8 (S.D.N.Y. Dec. 7, 2011) (emphasis in original) (quoting Board

of Trustees of the Leland Stanford Junior University v. Roche Molecular Systems, Inc., --- U.S. --

--, 131 S.Ct. 2188, 2196 (2011)); see also Rubin v. Islamic Republic of Iran, 541 F. Supp. 2d

416, 420 (D. Mass. 2008) ("TRIA permits judgment creditors to levy on blocked assets.                  . . .

Obviously, in order to succeed in the levy, the judgment creditor would have to establish that the

property may be taken on execution because it belongs to the judgment debtor.") (emphasis

added).

          The position of the United States Government on this issue is clear: "The plain meaning

of the phrase 'of that terrorist party' [in TRIA section 201] clearly requires ownership on the part

of that terrorist party; the statute's text does not support attachment of assets that do not belong

to the 'terrorist party. '" Statement of Interest of the United States of America in Response to

Petitioners' Motion for Immediate Turnover of Funds ("Statement of Interest of the United


15
     By its plain terms, subsection (a) of TRIA section 201 does not allow for the recovery of punitive (as
     opposed to compensatory) damages. See id. (" . .. to the extent of any compensatory damages for
     which such terrorist party has been adjudged liable.") (emphasis added).

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States"), Rux v. ABN Amro Bank NV, 08 Civ. 6588 (AKH) (S.D.N.Y.) (Dkt. # 185, filed on Jna.

12, 2009) at 10-11. 16 Therefore, "any attempt to attach more than the [terrorist patry]'s interest

in any particular property would appear to exceed TRIA's scope. " Id. at 11.

         Not only is the Government's position supported by the plain text of section 201, it also

avoids the !`absurd results" that would ensue if there were no requirement of ownership.

Calderon, 2011 WL 6155987, at *11. Indeed, if there were no such requirement, TRIA section

201 would "allow attachment of assets with only the most tangential relationship to [the terrorist

state]." Id.

         Here, the Restrained Bonds have been blocked pursuant to the Executive Order because

Bank Markazi has an "interest" in that property. However, "[t]he terms 'interest' and 'title' are

clearly not synonymous. " Bank of New York v. Norilsk Nickel, 14 A.D. 3d 140, 147 (1st Dep't

2004). Thus, the Executive Order "block[s] assets based on interests in property and the use to

which such property was put, not based on who own[s] the property in question.            "17


         Like the executive order and accompanying regulations at issue in Norilsk Nickel, the

purpose of the Executive Order here is to "impede[] movement" of the Restrained Bonds by

requiring that those assets remain exactly where they are now—frozen at Citibank in New York.

Id. at 146. It does not follow, however, that the Restrained Bonds are available for distribution

to Plaintiffs under TRIA section 201 because "TRIA's plain language dictates that not all

`blocked assets' are attachable. " Calderon, 2011 WL 6155987, at *14.

         Unlike Judge Cote in Calderon, two other courts in this district have rejected the United

States Government's stated position that attachment and execution under TRIA section 201


16   The Statement of Interest of the United States is attached as Exhibit C to the Lindsey Declaration.
17   Id. (discussing executive order and accompanying OFAC regulations providing for the blocking of
     property and interests in property of certain entities affiliated with the former nation of Yugoslavia)
     (emphasis added).

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requires actual ownership of the assets in question. Thus, in Hausler v. JPMorgan Chase Bank,

1V.A., 740 F. Supp. 2d 525 (S.D.N.Y. 2010), the court declined "[t]o treat the Executive Branch's

statutory interpretation of TRIA as controlling" based on a finding that Congress intended TRIA

"to provide terrorism victims with ample avenues to compensation for acts perpetrated by state

sponsors of terrorism. " Id. at 537. 18 Accord. Levin v. Bank of New York, No. 09 CV 5900

(RPP), 2011 WL 812032, at *16 (S.D.N.Y. Mar. 4, 2011) (discussing TRIA's "remedial

purpose").

          Respectfully, however, that reasoning is not persuasive. However "ample" the rights of

judgment creditors under TRIA section 201 may be, they are plainly not without limitations. 19

Among those limitations is the requirement imposed by the plain text of section 201 that in order

to be attachable, the blocked assets must be "assets of' the terrorist party.

         Indeed, as Judge Cote noted, if Congress had intended to make all blocked assets

available for distribution to judgment creditors under TRIA section 201 regardless of ownership,

Congress easily could have done so by providing that "'blocked assets in which that terrorist

party has any property interest' or 'all assets blocked pursuant to OFAC sanctions regulations

targeting that terrorist party' are subject to attachment and execution.            Calderon, 2011 WL

6155987, at *12.       But that is not what section 201 says.         Instead, section 201 "allows for


18   In another, recent opinion in the same case, Judge Marrero reaffirmed this broad interpretation of the
     scope of TRIA section 201. See Hausler v. JPMorgan Chase Bank, 1V.A.,           F.Supp.2d       , 2012
     WL 601034 (S.D.N.Y. Feb. 22, 2012).
19   The excerpt from a statement by Senator Tom Harkin, the sponsor of TRIA section 201, that the
     Hausler court cited to support its conclusion that all blocked assets are attachable under TRIA is not
     to the contrary. In his statement, Senator Harkin criticized what he described as the Executive
     Branch's policy of "[h]olding the blocked assets of state sponsors of terrorism in perpetuity" rather
     than making those assets available to "compensate American victims of terrorist attacks. " Hausler,
     740 F. Supp. 2d 525 at 538 n.13 (emphasis added, quoting 148 Cong. Rec. S11528 (Statement of
     Senator Harkin)).
     In any event, "Nile remarks of a single legislator, even the sponsor, are not controlling in analyzing
     legislative history." Chrysler Corp. v. Brown, 441 U.S. 281, 311 (1979).

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attachment only of 'blocked assets of that terrorist party. '" Id. (quoting TRIA section 201(a),

emphasis in original).

                               2.      New York Law Determines Whether The Restrained Bonds
                                       Are "Assets Of' Bank Markazi

         The Second Circuit has instructed that "[i]n the absence of a superseding federal statute

or regulation, state law generally govenrs the nature of any interests in or rights to property that

an entity may have.      Export-Import Bank of the United States v Asia Pulp & Paper Co         609

F.3d 111, 117 (2d Cir. 2010). The key test is whether a federal statute such as TRIA section 201

"itself creates . . . property rights" or instead "merely attaches consequences, federally defined,

to rights created under state law. " Id. (quoting United States v. Craft, 535 U.S. 274, 278 (2002)).

TRIA falls into the latter category.

         As Judge Cote found in Calderon, "[n]owhere in TRIA is there a definition of 'property'

or 'property ownership,' or any other indication that the statute intends to create a special regime

of federal property interests or rights." Calderon, 2011 WL 6155987, at *9. TRIA section 201

thus "provides no guidance for determining which blocked assets are 'of that terrorist party. '''

Id. at *10 (emphasis added).

         Accordingly, "[section 201 of] TRIA does not pre-empt New York law. " Id. at *9. Nor

does the Executive Order itself pre-empt New York law, as it does not purpotr to define

"property ownership." See id. at *12 (emphasis in original). Nothing in the Executive Order

"impl[ies] that simply because a certain piece of 'property' or 'property interest' is blocked

pursuant to the sanctions regime [against Bank Markazi], it therefore belongs to [Bank

Markazi]." Id.

         In other words, "federal and state law d[o] not conlfict at all; they simply address[]

different issues." Norilsk Nickel, 14 A.D. 3d at 147. Thus, "there are no 'conlficting potrions' of


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state law that TRIA might supersede."         Calderon, 2011 WL 6155987, at *14. "Rather, . . . state

law fills an interpretive gap in TRIA by giving meaning to the phrase 'of that terrorist party. '''

Id. Accordingly, TRIA section 201 leaves "ample room" for the application of New York law to

determine "which subset of 'blocked assets' constitutes those that are 'of that terrorist patry' and

that should therefore be subject to attachment. " Id. at *10.

                                  3.      As Demonstrated In Clearstream's Motion, The Restrained
                                          Bonds Cannot Be Deemed "Assets Of' Bank Markazi
                                          Under New York Law, Including the UCC's Choice of Law
                                          Provisions

         If the Court applies New York law, including the UCC's choice of law provisions, to

determine whether the Restrained Bonds are "blocked assets of' Bank Markazi for purposes of

TRIA section 201, it will then need to consider the arguments raised by Clearstream in its

December 22, 2011 Consolidated Memorandum of Law in Support of Its Renewed Motion to

Vacate the Restraints (the "Clearstream Brief').

         Bank Markazi expressly adopts and incorporates herein by reference the arguments

Clearstream has raised in the Clearstream Brief. Bank Markazi respectfully refers the Court to

the Clearstream Brief for the full context and detail of Clearstream's arguments.

         Briefly, it is undisputed that Bank Markazi has a beneficial interest in the Restrained

Bonds. Indeed, that is the very reason why the Restrained Bonds have now been blocked. 20 As

demonstrated in the Clearstream Brief, however, that beneficial interest does not make the Bank

the owner of those assets under New York law (or Luxembourg law, the law governing Bank




20 See Global Relief Foundation, Inc. v. O'Neill, 315 F.3d 748, 753 (7th Cir. 2002) (for purposes of
    determining the interests in property that are subject to blocking, "beneficial rather than legal interests
    matter"); accord. Holy Land Foundation for Relief and Development v. Ashcroft, 333 F.3d 156, 162-
    63 (D.C. Cir. 2003) (any "interest" in property may be subject to blocking; "[t]he interest need not be
    a legally protected one").

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Markazi's rights arising out of its security entitlements pursuant to the UCC's choice of law

provisions).21

           It is undisputed that Bank Markazi is not in privity with Citibank and is not Citibank's

customer        Clearstream is. See, e.g., Compl. ¶ 87 (referring to "the account . . . in [Bank]

Markazi's name at Clearstream"); id.             98 (referring to "Clearstream's cash account at

Citibank"). 22 The essence of Clearstream's argument is that Article 8 of the New York Uniform

Commercial Code establishes a "carefully constructed scheme" of propetry rights govenring

security entitlements such as the Restrained Bonds here. 23         Under the UCC, however, the

security entitlements that have been restrained (and now blocked) in New York "are not Bank

Markazi's entitlements vis-à-vis Clearstream, they are Clearstream's entitlements vis-à-vis

Citibank. "24

           The fact that those entitlements "are held ultimately for the benefit of Bank Markazi"

does not change the fact that Bank Markazi is not the owner of the Restrained Bonds under the

UCC. 25 Thus, "Plaintiffs cannot restrain the securities entitlements held by Bank Markazi at

Clearstream [in Luxembourg] by restraining Clearstream's security entitlements in its Omnibus

Account at Citibank [in New York]."26

           Plaintiffs make much of the fact that the bulk of the securities underlying the Restrained

Bonds has now matured and been redeemed. However, as Clearstream has stated, "if the Court

21
     See Clearstream Br. at 22-24; N.Y. U.C.C. §§ 8110(b) & (e).
22
     Of course, this does not take into account the presence of UBAE as an additional intermediary
     between Clearstream and Bank Markazi. However, as demonstrated in the Clearstream Brief, the
     omission of UBAE from the analysis makes no difference under New York law, including the UCC.
     See Clearstream Brief at 21.
23
     Clearstream Br. at 19.
24
     Id. at 21 (emphasis added).
25
     Id.
26
     Id.

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rules that the initial restraints were not effective under the UCC, then the cash [resulting from the

redemption of the underlying securities] is not subject to restraint by and turnover to the

Plaintiffs. "27

         In opposition to Clearstream's Motion, Plaintiffs argue that even if the restraints on the

security entitlements in Clearstream's omnibus account at Citibank were invalid under Article 8

of the UCC when they were first imposed in June 2008, that critical defect was somehow cured

by subsequent redemptions in the more than three and a half years that the restraints have now

been in place. Yet the principal case Plaintiffs rely on simply does not support that proposition.28

See Dickstein v. Merrill Lynch, 685 A.2d 943 (N.J. App. 1996).

         The dispute in Dickstein revolved around whether a brokerage firm was authorized to use

a portion of the balance in a client's cash account to pay tax penalties assessed against the client

in compliance with a New York State tax levy. The funds in the cash account resulted from the

liquidation of certain securities some five months previously at the client's request. Under those

circumstnaces, the New Jersey court's conclusion in Dickstein that the funds in the cash account

were not subject to Article 8 of the UCC govenring security entitlements is unremarkable. See

id. at 945-46.

         Here, by contrast, the restraints on the security entitlements in Clearstream's omnibus

account at Citibank were invalid to begin with under Article 8 of the UCC. The subsequent




27 Clearstream Br. at 28. Clearstream demonstrates that Plaintiffs' reliance on the redemption of most
   of the securities underlying the Restrained Bonds is unavailing for the additional reasons that (1) a
   judgment creditor cannot restrain the judgment debtor's bank's bank because that bank does not owe
   any debt to the judgment debtor or hold any money in an account belonging to the judgment debtor;
   and (2) Bank Markazi does not control, and cannot assign or transfer, the funds in Clearstream's cash
   account at Citibank. See Clearstream Br. at 29-30.
28 See Plaintiffs' March 12, 2012 Opposition to Clearstream's Renewed Motion to Vacate Restraints, at
   41.

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redemption of the underlying securities did not convert those assets into "assets of' Bank

Markazi for purposes of TRIA section 201.

          Thus, Judge Cote rejected an attempt by the judgment creditors in Calderon to execute

against the proceeds of blocked electronic fund transfers or "EFTs"        i.e., cash   frozen in New

York bank accounts. See Calderon, 2011 WL 6155987, at * 1. Because "the interest of an

originator or a beneficiary in a midstream EFT falls shotr of property ownership" under Article

4-A of the UCC, the court found that the blocked EFTs were not attachable under TRIA section

201. Id. at * 8. Therefore, neither were the blocked proceeds of those EFTs in the New York

bank accounts. See id. at *16 (denying petition for turnover of blocked funds).

         Likewise, the New York Appellate Division, First Department held in Norilsk Nickel that

the proceeds from an EFT "maintained . . . in a 'call account' in New York" were not attachable

because the EFT itself was not attachable under Atricle 4-A of the UCC.            Norilsk Nickel, 14

A.D.3d at 143; see id. at 145 ("It is beyond cavil that attachment will only lie against the

property of the debtor, and that the right to attach the property is only the same as the

defendant's own interest in it.") (intenral quotation and citation omitted).

         Bank Markazi respectfully submits that the reasoning in Calderon and Norilsk Nickel is

dispositive of the issue presented here. Accordingly, there is no basis for this Tunrover Action to

proceed. The Complaint must be dismissed.




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                 III.    Allowing Plaintiffs To Seize The Restrained Bonds Would Violate The
                         Treaty Of Amity Between The United States And Iran

          The Treaty of Amity29 is self-executing3° and accordingly has "the force and effect of a

legislative enactment. " Brzak v. United Nations, 597 F.3d 107, 111 (2d Cir. 2010) (quoting

Medellin v. Texas, 552 U.S. 491, 505-06 (2008)). Application of TRIA section 201 in the instant

case would violate Articles III.1, 111.2, IV.1, and IV.2 of the Treaty regarding recognition of

Bank Markazi's separate juridical status; full, impartial and equal access to the coutrs; fair and

equitable treatment; and protection and security in no case less than that required under

intenrational law, respectively.

         Bank Markazi was not a party to, and was never served with process in, the underlying

proceedings before Judge Lamberth in the District of Columbia, nor is the Bank alleged to have

had any involvement in the acts that gave rise to Plaintiffs' judgment.                     Under these

circumstances, permitting Plaintiffs to seize the Restrained Bonds would be incompatible with

the Treaty provisions identified above. The United States Supreme Court has made clear that

under "principles ... common to both international law and federal common law," " government

instrumentalities established as juridical entities distinct and independent from their sovereign

should normally be treated as such. " First National City Bank v. Banco Para El Comercio

Exterior de Cuba, 462 U.S. 611, 623, 626-627 (1983) ("Bancec") (emphasis added).31


29
     Treaty of Amity, Economic Relations and Consular Rights between the United States and Iran, 8
     U.S.T. 899 (1955) (the "Treaty of Amity" or the "Treaty"). The Treaty is attached as Exhibit D to the
     Lindsey Declaration.
30
     See McKesson Corp. v. Islamic Republic of Iran, 539 F.3d 485, 488 (D.C. Cir. 2008) ("The Treaty of
     Amity, like other treaties of its kind, is self-executing.").
31
     In Weinstein v. Islamic Republic of Iran, 609 F.3d 43 (2d Cir. 2010), the Second Circuit rejected an
     argument by Bank Melli Iran, a state-owned Iranian Bank and thus an instrumentality of Iran, that
     application of TRIA section 201 to permit plaintiffs to execute against proceeds resulting from the
     sale of real property owned by Bank Melli in New York would violate the Treaty of Amity.
     Specifically, the Second Circuit held that TRIA section 201 must be deemed to have abrogated the
     decision of the United States Supreme Court in Bancec. Id. at 51. The Second Circuit further held

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         Thus, Bank Markazi's property is entitled to recognition as separate and distinct from the

property of Iran, the judgment debtor here, not only under the FSIA, but also as a matter of

international law.         Indeed, intenrational law and practice      like FSIA section 1611(b)(1)32

extend special protection to central bank property and treat such property differently from the

propetry of other government agencies and instrumentalities. 33 Atricles III.1 and IV.2 of the

Treaty give effect to those protections under international law.

         For the same reason, allowing Plaintiffs to seize the Restrained Bonds would also violate

the provision in Article IV.1 of the Treaty requiring the United States to "rerfain from applying

unreasonable and discriminatory measures" against Bank Markazi's rights and interests.

         Bank Markazi respectfully submits that the "notwithstanding" clause in TRIA section

201 is not a sufficiently clear indication of Congress's intent to abrogate a treaty, as




     that "[t]here is . . . no conlfict" between TRIA section 201 and Articles 111.1 and IV.2 of the Treaty of
     Amity, including the obligation of the United States pursuant to Article III.1 of the Treaty to
     recognize the "juridical status" of "[c]ompanies constituted under the applicable laws and regulations
     [of Iran]." Id. at 53. The Second Circuit did not, however, specifically address Articles 111.2 and 1V.1
     of the Treaty.
     Bank Markazi acknowledges that the Second Circuit's holding in this respect is binding on this Court.
     However, it is Bank Markazi's position that TRIA section 201 did not abrogate the United States
     Supreme Court's decision in Bancec. Bank Markazi accordingly raises this issue here to preserve it
     for further review as appropriate.
     We note that Bank Melli has filed a Petition for a Writ of Certiorari in Weinstein seeking reversal on
     this very issue that is currently pending before the United States Supreme Court. See Supreme Court
     Docket No. 10-947. By Order dated June 13, 2011, the Court invited the Solicitor General to file a
     brief expressing the views of the United States. The Solicitor General has not yet filed that brief.
     Bank Markazi reserves its right to supplement this Memorandum of Law as appropriate if the
     Supreme Court grants Bank Melli's Petition.
32
     See Point V, infra.
33
     See United Kingdom State Immunity Act, 1978 Laws c. 33, section 14(4). Likewise, Belgium
     adopted a law in July 2008 expressly providing for the immunity of foreign central bank property.
     Finally, and most significantly, Article 21(c) of the United Nations Convention on Jurisdictional
     Immunities of States and Their Property adopted by the General Assembly of the United Nations on
     December 2, 2004 (not yet in force) reflects a broad international consensus concerning the immunity
     of central bank property. See General Assembly Resolution 59/38, annex, Official Records of the
     General Assembly, Fifty-ninth Session, Supplement No. 49 (A/59/49).

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distinguished from other "provision[s] of law. " 34 "A treaty will not be deemed to have been

abrogated or modified by a later statute unless such purpose on the part of Congress has been

clearly expressed           Legislative silence is not sufficient to abrogate a treaty. " Trans World

Airlines, Inc. v. Franklin Mint Corp.,     466 U.S. 243, 252 (1984).      Thus, courts have declined to

enforce statutes that are incompatible with existing United States treaty obligations in the

absence of an explicit statutory abrogation of a treaty to which the United States is a party. 35

                 IV.     It Is Plaintiffs' Burden To Show That TRIA Section 201 Overrides
                         The Executive Order's Prohibition On Any Transfer Of The
                         Restrained Bonds

          As stated above, by its plain terms, the Executive Order provides that all "property and

interests in 'property" of Bank Markazi in the United States "may not be transferred, paid,

exported, withdrawn or otherwise dealt in. " 36 Therefore, it is Plaintiffs' burden to establish that

the Restrained Bonds are available for distribution to them under TRIA section                         201

notwithstanding the plain language of the Executive Order.

         As the United States Supreme Court explained in Dames & Moore, the purpose of a

blocking order such as the Executive Order here is to allow the President to use blocked assets as

34   Apart from the narrow holding concenring Atricles III.1 and IV.2 of the Treaty of Amity, the
     remainder of the discussion of the Treaty in Weinstein is dicta. In particular, the Second Circuit's
     statement that "even assuming, arguendo, that there were a conflict between [TRIA and the Treaty],
     the TRIA would have to be read to abrogate that portion of the Treaty" plainly constitutes dicta.
     Weinstein, 609 F.3d at 53 (emphasis added); see Calderon-Cardona v. JPMorgan Chase Bank, N.A.
     2011 WL 6155987, *14 (S.D.N.Y. 2011) ("In Weinstein, the Second Circuit stated in dicta that TRIA
     would abrogate a conlficting portion of an earlier treaty because the Notwithstanding Clause served to
     `expressly state[]' Congress's purpose in superseding earlier laws[.]") (citation omitted).
35   See United States v. Palestine Liberation Organization, 695 F. Supp. 1456 (S.D.N.Y. 1988) (even
     where statute requiring closure of the Palestine Liberation Organization's Mission as a Permanent
     Observer to the United Nations in New York purported to apply "notwithstanding any provision of
     law to the contrary," statute did not abrogate United Nations Headquarters Agreement); see also
     Tribes v. U.S., No. 96-381 (HA), 1996 WL 924509, *9 (D. Or., Oct. 2, 1996) (clause providing that
     statutory provision was to apply "notwithstanding any other provision of law" did not abrogate pre-
     existing treaty with Native American tribes as it did not constitute "a clear expression" of
     Congressional intent to abrogate the treaty).
36   Executive Order, §§ 1(a) & 1(b).

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he deems fit in dealing with the target country in order to resolve a declared national

emergency. 37

                 Such [blocking] orders permit the President to maintain the foreign
                 assets at his disposal for use in negotiating the resolution of a
                 declared national emergency. The frozen assets serve as a
                 "bargaining chip" to be used by the President when dealing with a
                 hostile country.

Dames & Moore, 453 U.S. at 673. With respect to Iran, President Obama recently reiterated, at a

press conference on March 6, 2012, that the United States is about to resume negotiations

concerning that country's nuclear program:

                 THE PRESIDENT: (. . .) To resolve this issue [of Iran's nuclear
                 program] will require Iran to come to the table and discuss in a
                 clear and forthright way how to prove to the intenrational
                 community that the intentions of their nuclear program are
                 peaceful. They know how to do that. This is not a mystery. And
                 so it's going to be very impotrant to make sure that, on an issue
                 like this - - there are complexities; it obviously has to be
                 methodical. I don't expect a breakthrough in a first meeting, but I
                 think we will have a pretty good sense fairly quickly as to how
                 serious they are about resolving the issue. 38

Under these circumstances, Bank Markazi respectfully submits that allowing Plaintiffs to seize

the Restrained Bonds under TRIA section 201 would contravene the very purpose for which

those assets have been blocked pursuant to the Executive Order. Indeed, as former President

Clinton stated in 1998 in connection with a predecessor provision of TRIA section 201, FSIA

section 1610(f)(1)(A), distributing blocked assets to private plaintiffs would "effectively

eliminate" an "important source of leverage" in negotiations with foreign states. 39

37
     The Executive Order here provides that it was issued "in order to take additional steps with respect to
     the national emergency declared in Executive Order 12957 of March 15, 1995[.]" Executive Order,
     Preamble.
38
     Remarks of President Obama at March 6 2012 press conference The full text of the President's
     remarks is available at http://www.whitehouse.gov/the-press-office/2012/03/06/press-conference-
     president.
39
     1998 Pub. Papers, 1843, 1847 (Oct. 23, 1998).

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                 V.       Should The Court Determine That The Restrained Bonds Are "Assets
                          Of' Bank Markazi, Then Those Assets Are Immune From
                          Attachment And Execution Under Section 1611(b)(1) Of The FSIA As
                          "The Property Of' A Foreign Central Bank Held For Its Own
                          Account

          Should the Court conclude—contrary to Point II above and Clearstream's Motion—that

the Restrained Bonds are "assets of' Bank Markazi under applicable law, including the UCC, the

Court will then need to determine whether those assets are immune from attachment and

execution as "the property of' a foreign central bank held for its own account under section

1611(b)(1) of the FSIA.

         In NML Capital, Ltd. v. Banco Central de la Reptiblica Argentina, 652 F.3d 172 (2d Cir.

2011), the Second Circuit held that section 1611(b)(1) of the FSIA establishes a clear

presumption that funds held in an account in the name of a foreign central bank are immune from

attachment and execution. 40 Plaintiffs have not alleged any facts to overcome that presumption

here. Therefore, as discussed below, the Complaint must be dismissed as a matter of law for lack

of subject matter jurisdiction under the FSIA.

                         A.       The FSIA Determines Sub ect Matter Jurisdiction In This Tunrover
                                  Action

         Under the FSIA, the property of a foreign state, or of an instrumentality of a foreign

state, 41 is presumptively immune from attachment and execution unless one of the specific

exceptions to immunity enumerated in the FSIA applies. 42 Thus, the United States Supreme


40
     In NML Capital, the Second Circuit rejected an attempt by holders of defaulted Argentine bonds to
     seize funds belonging to the Central Bank of Argentina to satisfy nearly $2.4 billion in outstanding
     judgments against the Republic of Argentina.
41
     See 28 U.S.C. § 1603(a). ("A 'foreign state' ... includes ... an agency or instrumentality of a foreign
     state").
42
     See Aurelius Capital Partners, LP v. Republic of Argentina, 584 F.3d 120, 129-30 (2d Cir. 2009)
     ("Under section 1609 of the [FSIA], property in the United States of a foreign state is immune from
     attachment or execution unless the property fits within one of the limited exceptions enumerated in
     sections 1610 or 1611 of the Act."); Rubin v. Islamic Republic of Iran, 637 F.3d 783, 799 (7th Cir.

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Court has instructed that Vait the threshold of every action in a District Court against a foreign

state, . . . the court must satisfy itself that one of the exceptions [to immunity enumerated in the

FSIA] applies      and in doing so it must apply the detailed federal law standards set forth in the

Act. " Verlinden B.V. v. Central Bank of Nigeria, 461 U.S. 480, 493-94 (1983) (emphasis added).

         Yet at the March 1, 2012 status conference, Plaintiffs argued         for the first time   that the

Executive Order obviates the need to determine whether the Restrained Bonds are immune from

attachment and execution under section 1611(b)(1) of the FSIA. Plaintiffs' apparent argument is

that the blocking of Bank Markazi's property pursuant to the Executive Order somehow

convetred this Tunrover Action into an "in rem" action in which the Court purportedly has

jurisdiction irrespective of the FSIA based on the presence of the blocked assets in New York. 43

         Plaintiffs' argument fundamentally misapprehends the relationship between the

Executive Branch's prerogative to block any property in which Bank Markazi has an "interest"

and the continued immunity of Bank Markazi's property from civil claims under the FSIA. In

Weinstein v..Islamic Republic of Iran, 609 F.3d 43, 50 (2d Cir. 2010), the Second Circuit made

clear that the FSIA determines subject matter jurisdiction where a civil plaintiff asserts claims

against the blocked property of a sovereign defendant pursuant to TRIA section 201.

         Weinstein involved an attempt by judgment creditors of Iran pursuant to TRIA section

201 to seize blocked assets of Bank Melli Iran, a state-owned Iranian bank and thus an

instrumentality of Iran, to satisfy their judgments against Iran.         The Second Circuit began its

analysis of TRIA section 201 by emphasizing: "Section 1609 [of the FSIA] . . . provides that



     2011) (the FSIA "cloaks the foreign sovereign's property with a presumption of immunity from
     attachment and execution unless an exception applies"); Peterson v. Islamic Republic Of Iran, 627
     F.3d 1117, 1128 (9th Cir. 2010) ("[I]t is the plaintiff s burden to prove that an exception to immunity
     applies if it is readily apparent that the property at issue belongs to a foreign state.").
43
     See 3/1/12 Hrg. Tr. at 7:10-12.

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where a valid judgment has been entered against a foreign sovereign, property of that foreign

state is immune from attachment and execution except as provided in the subsequent sections,

Sections 1610 and 1611." Id. at 48 (emphasis in original). As the coutr added in the very next

sentence, TRIA section 201 is "codified as a note to Section 1610 of the FSIA." Id.

          Weinstein thus forecloses Plaintiffs' argument that the blocking of the Restrained Bonds

obviates the need to determine subject matter jurisdiction in this Tunrover Action in accordance

with the FSIA.      The apparent basis for Plaintiffs' argument is Judge Marrero's opinion in

Hausler v. JPMorgan Chase Bank, N.A., 740 F. Supp. 2d 525 (S.D.N.Y. 2010). There, the court

found that the placement of funds blocked pursuant to the Cuban Assets Control Regulations

("CACR") "into accounts located in this District" ipso facto gave the Court "jurisdiction over

disputes arising out of those funds." Id. at 539.

         In reaching this novel nad unprecedented conclusion, the Hausler court purported to rely

on Shipping Corporation of India Ltd. v. Jaldhi Overseas Pte. Ltd., 585 F.3d 58 (2d Cir. 2009).

In that case, the Second Circuit discussed its prior decision in United States v. Daccarett, 6 F.3d

37 (2d Cir. 1993) addressing the ability of "the [United States] government [to] institute civil

forfeiture in rem proceedings." Daccarett, 6 F.3d at 46. In that context, the Second Circuit

noted in Jaldhi that "for in rem remedies such as forfeitures, ownership of the res is irrelevant, as

the court has personal jurisdiction regardless of who owns the res at issue. " Jaldhi, 585 F.3d at

69.

         Relying on Jaldhi, the Hausler court reasoned that "[u]nder both the civil forfeiture

statutes and OFAC regulations, ownership of the res is irrelevant. " Hausler, 740 F. Supp. 2d at

540. That much is true: just as the United States Government has the authority under the civil

forfeiture statutes to seize property used in criminal activity regardless of ownership, the United



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States Government has the authority to block any and all property in which a sanctions target has

an "interest" irrespective of ownership.44

          But it simply does not follow, as the Hausler court erroneously concluded, that

"Executive Branch determinations to . . . block [a sovereign defendant's] property located within

a court's territorial reach results in jurisdiction" over a private plaintiff s claims against the

blocked property. Id. Jaldhi does not support the Hausler court's conclusion, and Weinstein

establishes that it is wrong as a matter of law. 45

          In sum, therefore, notwithstanding the blocking of the Restrained Bonds, those assets

remain "immune from attachment and execution except as provided in [FSIA] Sections 1610 and

1611." Weinstein, 609 F.3d at 48 (emphasis in original); see also Brenntag Int'l Chemicals, Inc.

v. Bank of India, 175 F.3d 245, 253 (2d Cir. 1999) (the FSIA provisions governing attachment

and execution are designed "to prevent in rem and quasi-in-rem actions from undermining the

general principles codified in the FSIA") (discussing immunity of sovereign property used for

commercial purposes from pre-judgment attachment, subject to the limited exceptions

enumerated in FSIA section 1610(d)).

                         B.      Heightened Immunity Of Central Bank Property Under Section
                                 1611(b)(1) Of The FSIA

         Above and beyond the general presumption of immunity that applies in any action

against a foreign sovereign under the FSIA, the property of a foreign central bank in the United

States is entitled to heightened immunity under section 1611(b)(1) of the FSIA:



44
     For the avoidance of doubt, while the authority of the Executive Branch under United States law to
     block any property in which a sanctions target has an interest is clear, Bank Markazi does not concede
     that such blocking is appropriate as a matter of international law.
45
     We note that the Republic of Cuba and the other Cuban defendants in Hausler did not enter an
     appearance in the tunrover action there, such that the Hausler court does not appear to have had the
     benefit of full, adversarial briefing on this issue.

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                 § 1611. Certain types of property immune from execution

                (. . .)
                (b) Notwithstanding the provisions of section 1610 of this chapter, the
                property of a foreign state shall be immune from attachment and from
                execution, if

                     (1) the property is that of a foreign central bank or monetary authority
                     held for its own account, unless such bank or authority, or its parent
                     foreign government, has explicitly waived its immunity from
                     attachment in aid of execution, or from execution

28 U.S.C. § 1611. As the text of section 1611(b)(1) makes clear, there are only two requirements

for immunity under that provision: (1) the property in question must be "that of a foreign central

bank or monetary authority"; and (2) the property must be "held for [the foreign central bank or

monetary authority's] own account." Id.

                          C.    Bank Markazi Is The Central Bank Of Iran And The Beneficial
                                Owner Of The Restrained Bonds

         The first requirement for immunity under section 1611(b)(1) is that the Restrained Bonds

must be "the property . . . of a foreign central bank. " 28 U.S.C. § 1611 (b)(1). Bank Markazi is

the Central Bank of Iran. Compl. 32. 46 Should the Court determine                contrary to Point II

above and the arguments raised in Clearstream's Motion         that the Restrained Bonds are "assets

of' Bank Markazi under applicable law, then the Restrained Bonds plainly also would qualify as

"the property of' Bank Markazi       and thus the property of a foreign central bank      for purposes

of immunity under FSIA section 1611(b)(1 ).47



46
     Bank Markazi is a sovereign instrumentality "formed under the laws of Iran and maintains its
     principal place of business in Iran. " Compl. 7 32, 33.
47
     As previously stated, the nature of Bank Markazi's beneficial ownership interest in the Restrained
     Bonds is undisputed. As Plaintiffs allege, "[a]t all times, [Bank] Markazi retained the beneficial
     ownership of the bonds[.]" Compl. 158. OFAC likewise identified "the Central Bank of Iran" or
     "CBI" as the beneficial owner of the Restrained Bonds in the April 23, 2010 letter on which the
     Complaint relies. Compl. 48; Lindsey Decl. Ex. A.

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                         D.       Bank Markazi Holds The Restrained Bonds For Its Own Account
                                  As An Investment Of The Bank's Foreign Currency Reserves

                                  1.      The Restrained Bonds Are Presumptively Immune Under
                                          NML Capital

         The only other requirement for immunity under section 1611(b)(1) is that the Restrained

Bonds must be "held for [Bank Markazi's] own account. " 28 U.S.C. § 1611 (b)(1). The Second

Circuit has adopted a "modified central bank functions test," pursuant to which "property of a

central bank is immune from attachment if the central bank uses such property for central

banking functions as such functions are normally understood, irrespective of their commercial

nature. "48 NML Capital, 652 F.3d at 194 (quoting Enrest T. Patrikis, Foreign Central Bank

Property: Immunity from Attachment in the United States, 1982 U. ILL. L.          REV.   265, 277 (1982)).

         Plaintiffs claim that it is Bank Markazi's burden to "demonstrate that it utilized the

Restrained Bonds exclusively 'for its own account,' i.e., solely in connection with legitimate

central banking activity." Compl. ¶ 10. Plaintiffs are wrong. Under NML Capital, precisely the

opposite burden of production applies: it is Plaintiffs' ' burden to proffer evidence that Bank

Markazi does not use the Restrained Bonds for central banking purposes.

         The Second Circuit made clear that "[w]here funds are held in an account in the name of

a central bank or monetary authority, the funds are presumed to be immune from attachment

under § 1611(b)(1)."49 NML Capital, 652 F.3d at 194 (emphasis added). Plaintiffs bear "the

burden of producing evidence to rebut [that] presumption" because they are "the party against

48
     Under the test adopted by the Second Circuit, Plaintiffs' allegation that Bank Markazi "engage[d] in
     `commercial activity' in the United States in relation to the Restrained Bonds" (Compl. 7) is plainly
     irrelevant to the immunity of the Restrained Bonds under section 1611(b)(1).
49
     It ii s undisputed that at all material times, Bank Markazi's security entitlements with respect to the
     Restrained Bonds were maintained in an account in Bank Markazi's name with Clearstream and/or an
     account UBAE maintained with Clearstream for the benefit of Bank Markazi. See Compl. ¶ 7
     (referring to the transfer of the Restrained Bonds "from an account held in [Bank] Markazi's own
     name at Clearstream to a new customer account opened by UBAE at Clearstream for the purpose of
     housing [Bank] Markazi's bonds").

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whom [the] presumption is directed." Fed. R. Evid. 301. In order to rebut the presumption that

the Restrained Bonds are immune from attachment and execution under section 1611(b)(1),

Plaintiffs must "demonstrat[e] with specificity that the [Restrained Bonds] are not being used for

central banking functions as such functions are normally understood. " NML Capital, 652 F.3d at

194 (emphasis added).

         Plaintiffs have not even attempted to allege facts which, if true, would suffice to meet

their burden here. On the contrary, as discussed immediately below, the relevant allegations in

the Complaint are consistent with Bank Markazi's use of the Restrained Bonds as an investment

of the Bank's foreign currency reserves      a classic central banking function.

                                  2.     By Their Very Nature, The Restrained Bonds Indicate
                                         Their Purpose As An Investment Of Bank Markazi's
                                         Foreign Currency Reserves

         The character of the Restrained Bonds as an investment is undisputed.             Plaintiffs

expressly allege that "[Bank] Markazi invested in those bonds," and that the Bank collected

"interest and principal payments related to its investments. " Compl.     7 3, 96 (emphasis added);
see also Compl.      ¶ 138 (referring to "[Bank] Markazi's bond holdings"). Nor is there any dispute
as to the nature of Bank Markazi's investment: "[t]he Restrained Bonds were issued by

sovereigns like the Republic of Italy or `supranationals' such as the European Investment Bank"

and are denominated in U.S. dollars. Compl.      7 102, 245.
         These undisputed facts are all consistent with the presumption that Bank Markazi holds

the Restrained Bonds for its own account as an investment of the Bank's foreign currency

reserves        a "paradigmatic central banking function[]." NML Capital, 652 F.3d at 195. Indeed,

as Clearstream's Executive Vice President and Head of Business Management, Mark Gem,

testified during the June 27, 2008 hearing before Judge Koeltl, sovereign bonds are exactly the

type of security that would appeal to a foreign central bank as an investment of foreign currency

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reserves. See 6/27/08 Hrg. Tr., at 22 (these "very high grade securities . . . would all tend to

appeal to central banks, for example, as stores of reserve investments").50

          Not surprisingly, therefore, the Complaint fails to allege any reason why Bank Markazi

would acquire and hold such securities for any purpose other than to store, and generate a retunr

on, the Bank's foreign currency reserves.

                                  3.      The Complaint Alleges No Facts To Rebut The
                                          Presumption That Bank Markazi Holds The Restrained
                                          Bonds For Its Own Account

          The only other allegations in the Complaint that even arguably relate to whether Bank

Markazi holds the Restrained Bonds for its own account are: (i) the purported absence of

documentation "suggest[ing] that the Restrained Bonds were maintained in a designated foreign

exchange reserve account" (Compl.         ¶   178); (ii) Bank Markazi's purpotred failure to "segregate

its foreign currency reserve funds" rfom other assets (Compl.              ¶   179); nad (iii) the Bank's

purported "inability to pledge any of the assets held in its Clearstream account" (Compl.          ¶ 180).
         None of these allegations is relevant to immunity under section 1611(b)(1). First, there is

no requirement that foreign currency reserves must be held in a "designated foreign exchange

reserve account" to qualify for immunity under section 1611(b)(1). See NML Capital, 652 F.3d

at 194 (all funds held "in an account in the name of a central bank or monetary authority" are

presumptively immune) (emphasis added).                  Nor can Plaintiffs meet their burden of

"demonstrating with specificity that the [Restrained Bonds] are not being used for central

banking functions as such functions are normally understood" by claiming they have not seen

any documents affirmatively "suggest[ing]" that Bank Markazi holds the Restrained Bonds as

patr of its foreign currency reserves. Id. The Second Circuit established the presumption of

50
     A true and correct copy of the relevant excerpt from the transcript of the June 27, 2008 hearing before
     Judge Koeltl is attached as Exhibit E to the Lindsey Declaration.

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immunity precisely to avoid protracted litigation and discovery where, as here, a plaintiff lacks a

factual basis to allege with particularity that a foreign central bank is not using the property in

question for central banking purposes. See id. (the presumption of immunity under section

1611(b)(1) "is consistent with the recognition that FSIA immunity is immunity not only from

liability, but also from the costs, in time and expense, and other disruptions attendant to

litigation") (internal quotation and citation omitted).

         Second, nothing in NML Capital requires that foreign currency reserves must be

"segregated" from a foreign central bank's other assets to qualify for immunity under section

1611(b)(1). Indeed, the Central Bank of Argentina used the funds in the account at issue in NML

Capital for a number of different central banking purposes, some of which had nothing to do

with maintaining foreign currency reserves. See NML Capital, 652 F.3d at 177 n.8. 51 Yet the

Second Circuit held that all of the funds in the central bank's account were immune under

section 1611(b)(1). NML Capital, 652 F.3d at 195 (the funds in the account were the "property

of the [central bank] 'held for its own account'").

         Third, the Complaint does not even attempt to explain why Bank Markazi's purported

inability to pledge the Restrained Bonds is relevant to their immunity under section 1611(b)(1).

It is easy to imagine any number of reasons why a foreign central bank might decline to pledge

its foreign currency reserves in favor of a third patry. Assuming, however, that this allegation is

designed to support a claim that the Restrained Bonds are not entitled to immunity under section

1611(b)(1) because Iran has some undefined interest in these assets, that allegation fails as a


51   Those purposes included "transfer[ring] funds on behalf of the Republic [of Argentina] to and from
     certain international organizations and multilateral fora to which the Republic is a party, to and from
     Argentine embassies and missions abroad, and to certain foreign business service providers for
     expenses incurred by the Republic" as well as "mak[ing] payments of U.S. dollar-denominated
     operational expenses, such as the purchasing of currency paper and [the central bank]'s subscription
     to Bloomberg news service. " Id.

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matter of law. The Second Circuit made clear that "traditional activities of central banks" such

as "investing reserves" are all "functions which defy any attempt to divide the interest of the

central bank from that of the state it serves. " Id. at 192-93. Congress understood "that central

bank property could be viewed as the propetry of a foreign state, and nonetheless be immune

from attachment. " 52 Id. at 189 (intenral quotation and citation omitted, emphasis added).

         Accordingly, it makes no difference "whether a given . . . central bank investment is

conducted for the 'advantage' of the central bank, or that of its parent state. " Id. at 193.

Plaintiffs' argument to the contrary "misunderstands . . . the very purpose of a central bank. " Id.

                                4.     Bank Markazi Held The Restrained Bonds For Its Own
                                       Account Both Before and Atfer Their Transfer From The
                                       Bank's Account With Clearstream To UBAE's Account
                                       with Clearstream

         Plaintiffs devote nearly 50 paragraphs in the Complaint to their theory that the transfer of

the Restrained Bonds from Bank Markazi's account with Clearstream to UBAE's account with

Clearstream in February 2008 (the "February 2008 Transfer") should be deemed a fraudulent

conveyance under sections 273-a and 276 of the New York Debtor and Creditor Law.                   See

Compl. IN 126-173.       On that basis, they seek "to set aside and annul" the February 2008

Transfer. Compl. 173.




52 Accordingly, while a foreign sovereign may be deemed to have an "interest" in assets held by the
    sovereign's central bank, that interest is not an attachable interest. See EM Ltd., 473 F.3d at 480
    (Argentina did not have any "attachable interest" in funds held in the Central Bank of Argentina's
    account).




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         Plaintiffs' fraudulent conveyance theory fails as a matter of law. 53               If the Court

determines that the Restrained Bonds are "assets of' Bank Markazi under applicable law                  and

thus also "the property of' Bank Markazi under FSIA section 1611(b)(1)                then the Restrained

Bonds were immune from attachment and execution before the February 2008 Transfer for the

same reason they were (and are) immune after that transfer: because they are the property of a

foreign central bank held for its own account.           It is undisputed that "[a]t all times, [Bank]

Markazi retained the beneficial ownership of the bonds transferred to the UBAE/Markazi

Account. " Compl. ¶ 158. Thus, as OFAC has stated, the February 2008 Transfer "did not effect

a change in beneficial ownership of the transferred assets. " Compl. 1148.

         It follows that setting aside the February 2008 Transfer would have no impact on the

immunity of the Restrained Bonds from attachment and execution under section 1611(b)(1).54

"[A] judgment creditor does not gain new rights in property by means of a fraudulent

conveyance action. " Travelers Ins. Co. v. 633 Third Assocs., 973 F.2d 82, 87 (2d Cir. 1992).

Rather, the creditor's "remedy is 'limited to reaching the property which would have been

available . . . had there been no conveyance. '" Id. (quoting Marine Midland Bank v. Murkoff

120 A.D.2d 122, 133 (2d Dep't 1986)) (emphasis added).




53   As a threshold matter, Plaintiffs fail to allege any basis for the application of New York law to their
     fraudulent conveyance claim. Thus, the Complaint alleges that UBAE—an Italian bank—instructed
     Clearstream—a Luxembourg financial institution—"to open a new customer account for UBAE . . .
     as a custodial account for the benefit of UBAE's customer, [Bank] Markazi[.]" Compl. ¶ 147. As
     Plaintiffs further allege, Clearstream subsequently opened that account (id. ¶ 148) and Bank Markazi
     then instructed Clearstream to transfer its bond investments from the Bank's account with
     Clearstream to the new UBAE account with Clearstream. Id. 153. If anything, Luxembourg law,
     not New York law, would appear to govenr the transfer under these circumstances.
54   Plaintiffs' argument that the February 2008 Transfer "provide[s] no defense" to Plaintiffs' claims
     against Bank Markazi's property (Compl. ¶ 13) misses the point. Bank Markazi has never claimed
     that the February 2008 Transfer "provides a defense" to Plaintiffs' claims. Rather, the February 2008
     Transfer has no bearing one way or the other on the immunity of the Restrained Bonds from
     attachment and execution under section 1611(b)(1).

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         That basic principle of fraudulent conveyance law controls here. The Restrained Bonds

were never available for seizure by these Plaintiffs to begin with.              On the contrary, the

Restrained Bonds were immune from attachment and execution under the FSIA before the

February 2008 Transfer, and they remain immune today. The Complaint must be dismissed.

                         E.      Plaintiffs' Allegations That Bank Markazi Is An Alter Ego Of Iran
                                 And Is Not A "Legitimate" Central Bank Are Irrelevant Under
                                 NML Capital

                                 1.      Plaintiffs' Alter Ego Allegations Are Legally and Factually
                                         Indistinguishable From The Allegations The Second Circuit
                                         Rejected In NML Capital

         The law in this Circuit is clear: under section 1611(b)(1) of the FSIA, a plaintiff may not

seize the property of a foreign central bank held for its own account to satisfy a judgment against

the central bank's "parent state. " NML Capital, 652 F.3d at 197 (vacating attachment of central

bank funds obtained by judgment creditors of Argentina). Nor can Plaintiffs avoid dismissal by

alleging that Bank Markazi is an alter ego of Iran. That question is no longer open to debate.

Plaintiffs' latest Complaint flies in the face of the holding in NML Capital that "[section]

1611(b)(1) immunizes property of a foreign central bank or monetary authority held for its own

account without regard to whether the bank or authority is independent from its parent state"

under the United States Supreme Coutr's decision in Bancec. 55 NML Capital, 652 F.3d at 187-

88 (emphasis added).56

         In Bancec, the Supreme Court instructed that "government instrumentalities established

as juridical entities distinct and independent from their sovereign should normally be treated as

such. " 462 U.S. at 626-27. The Court went on to state, however, that "where a corporate entity


55   First National City Bank v. Banco Para El Comercio Exterior de Cuba, 462 U.S. 611 (1983)
     ("Bancec").
56   Plaintiffs' stated basis for amending their complaint was to address the Second Circuit's opinion in
     NML Capital. See 10/31/11 Hrg. Tr. at 39:20 — 40:5.

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is so extensively controlled by its owner that a relationship of principal and agent is created, we

have held that one may be held liable for the actions of the other. " Id. at 629. Under Bancec,

therefore, a pervasive "abuse of corporate form" may             be "sufficient to overcome the

presumption of separate existence" of government instrumentalities. De Letelier v. Republic of

Chile, 748 F.2d 790, 795 (2d Cir. 1984).

         Under NML Capital, however, the Bancec analysis does not govenr the immunity of

central bank property because the FSIA does not treat "foreign central banks . . . as generic

`agencies and instrumentalities' of a foreign state. " NML Capital, 652 F.3d at 188. Instead,

section 1611(b)(1) extends "special protections" to foreign central banks "befitting the particular

sovereign interest in preventing the attachment and execution of central bank property. " Id.

(internal quotation and citation omitted).

         Following an exhaustive review of the text, history, and structure of the FSIA, the Second

Circuit found that "Congress understood the property of a foreign central bank to be deserving of

immunity regardless of that bank's independence" from its parent state. NML Capital, 652 F.3d

at 190. Accordingly, the "fact that 'a relationship of principal and agent [has been] created'

between the foreign state and its central bank under Bancec is irrelevant" to immunity under

section 1611(b)(1). Id. at 188 (quoting Bancec, 462 U.S. at 629) (emphasis added, second

alteration in original).

         NML Capital unambiguously precludes Plaintiffs' attempt to seize the Restrained Bonds

based on a claim that "Iran so extensively controls [Bank] Markazi that a relationship of

principal and agent exists between the two entities. " Compl.   ¶ 62. Not only does NML Capital
foreclose any argument on that basis as a matter of law; Plaintiffs' factual allegations here are

strikingly similar to the allegations the Second Circuit considered and rejected in NML Capital:



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      Allegation in the Complaint:                        Allegation in NML Capital

      Iran "dictat[es] the appointment" of                Argentina "controll[ed] the selection
      Bank Markazi's management (Compl.                   and retention of [the central bank's]
      ¶ 64). The President of Iran exerted                officers" (Lindsey Decl. Ex. F, at
      pressure on two former Govenrors of                 41).57 "[T]he Argentine Executive
      Bank Markazi to resign and replaced                 has exercised total control over [the
      one of them "by presidential decree"                central bank]'s leadership, firing
      (id. ¶ 68).                                         [central bank] leaders at will" (id. at
                                                          47).

      The President of Iran has "usurped                  Argentina "direct[ed] [the central
      [Bank] Markazi's authority to make                  bank]'s monetary policy for the
      monetary policy decisions" (Compl.                  [Argentine] President's own political
      70; see also id. rif 71-76).                        purposes " (Lindsey Decl. Ex. F, at
                                                          41).

     Iran "has ignored" the Iranian                       Argentina "has repeatedly ignored the
     Monetary and Banking Law and "[i]n                   limits in [the central bank]'s own
     practice" controls Bank Markazi                      charter    on     the    government' s
     (Compl. 7 65, 67, 68).                               interference with [the central bank's]
                                                          policies" (Lindsey Decl. Ex. F, at 48)
                                                          and "exercise[s] pervasive control
                                                          over [the central bank] to implement
                                                          government policy" (id. at 49).

     Iran has ordered Bank Markazi "to                    Argentina "appropriat[ed] [the central
     extend loans to Iran's government for                bank]'s assets to make selective
     specific purposes" (Compl. 69).                      payments to Argentina's creditors"
                                                          (Lindsey Decl. Ex. F, at 41).

         As a matter of law, Plaintiffs cannot maintain this Turnover Action based on allegations

that are indistinguishable from the allegations the Second Circuit found to be irrelevant in NML

Capital. The Complaint must be dismissed.

                                2.      Plaintiffs Cannot Avoid Dismissal By Alleging That Bank
                                        Markazi Is Not A "Legitimate" Central Bank

         Nor can Plaintiffs avoid dismissal by claiming that Bank Markazi is not a "legitimate"

central bank (Compl. ¶ 181) based on extraneous allegations that the Bank "launders the funds

57
     A true and correct copy of the relevant excerpt from Plaintiffs-Appellees' Brief in NML Capital is
     attached as Exhibit F to the Lindsey Declaration.

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that underwrite Iran's sponsorship of terrorism and efforts to acquire WMDs. " Compl. ¶ 192.

This is a Turnover Action, not a plenary proceeding on liability in which Plaintiffs are free to

litigate the merits of any allegation anyone has ever leveled against the Bank (or Iran).            See

Compl. im 18 1-200.

          The Second Circuit made clear in NML Capital that disapproval of a foreign sovereign's

actions or policies is not a basis to disregard the immunity of central bank property under section

1611(b)(1).     While the court "share[d] the District Court's understandable irritation               at

[Argentina]'s willful defiance of [its] obligations to honor the judgments of a federal court" and

"underst[oo]d the frustration of the plaintiffs who are attempting to recover on judgments they

have secured," the Second Circuit was unwavering in its conclusion that "we must respect the

[FSIA's] strict limitations on attaching and executing upon assets of a foreign state. " NML

Capital, 652 F.3d at 196 (intenral quotations and citations omitted, third and fourth alterations in

original). That conclusion requires dismissal here.

                        F.      The Conclusory Waiver Allegations In The Complaint Fail
                                Because Plaintiffs May Not Attach Bank Markazi's Property
                                Irrespective Of Any Purported Waiver Of Immunity

         The Complaint contains a wholly conclusory allegation that "Iran has, explicitly and by

implication, waived any immunity from collection that would otherwise apply to funds held by

its agencies and instrumentalities, including [Bank] Markazi. " Compl. ¶ 8; see also Compl. 1

10, 21, 175. Plaintiffs allege no facts whatsoever to support their claim of waiver, and it is

nothing more than "a legal conclusion couched as a factual allegation." 58 Bell Atlantic Corp. v.




58 In paragraph 21 of the Complaint, Plaintiffs state that they "particularize below" their allegation of
    waiver. Yet nowhere in the Complaint do Plaintiffs allege any factual particulars to support their
    waiver claim.

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Twombly, 550 U.S. 544, 555 (2007). Accordingly, the waiver allegation is not entitled to any

weight.59

          In any event, Plaintiffs' waiver allegation fails as a matter of law. As demonstrated

immediately below, even if Plaintiffs could substantiate their waiver claim, they still could not

restrain Bank Markazi's propetry here         neither by means of a post-judgment attachment nor by

way of a pre-judgment attachment. 6°

                                  1.      Any Waiver Of Immunity From Post-Judgment Attachment
                                          Would Be Irrelevant Because Plaintiffs Are Not Entitled To
                                          That Relief In Any Event

         As a matter of law, Plaintiffs may not restrain Bank Markazi's property by way of a post-

judgment attachment because the Bank is not the judgment debtor here              Iran is. 61 Bank Markazi

has never been found liable for the acts that gave rise to Plaintiffs' judgment against Iran.

         Plaintiffs cannot avoid this result by alleging that Bank Markazi is an alter ego of Iran.

Not only are Plaintiffs' alter ego allegations irrelevant in any event under NML Capital (see

59   See Amidax Trading Group v. S.W.IF.T. SCRL,          F.3d ----, 2011 WL 6317466, *5 (2d Cir. Dec. 19,
     2011) (on a motion to dismiss for lack of subject matter jurisdiction, "[i]t is well established that we
     need not 'credit a complaint's conclusory statements without reference to its factual context'")
     (quoting Ashcroft v. Iqbal, 129 S. Ct. 1937, 1954 (2009)).
6°   This is by no means the only defect in Plaintiffs' waiver theory. Thus, section 1611(b)(1) requires
     that any waiver of immunity as to Bank Markazi's property must be explicit. 28 U.S.C. § 1611(b)(1).
     Accordingly, there can be no waiver "by implication," as alleged in the Complaint. See Compl. 8.
     The Second Circuit has instructed that "the . . . question under § 1611(b)(1) is whether there has been
     an effective waiver of immunity with respect to [the central bank's] property. " NML Capital, 652
     F.3d at 195. In order to be effective, a waiver of immunity under section 1611(b)(1) "must be clear
     and unambiguous" and must "specifically embrace[]" the foreign central bank and its property. Id.
     (internal quotation and citation omitted). The boilerplate allegation of waiver in the Complaint meets
     none of these requirements.
61   New York's post-judgment attachment statute, CPLR 5222, allows a judgment creditor to attach only
     property in which "the judgment debtor or obligor has an interest." CPLR 5222(b) (emphasis added).
     The judgment debtor here is Iran. But Iran has no attachable interest in the Restrained Bonds. See
     EM Ltd., 473 F.3d at 480 (rejecting argument that Argentina had "an attachable interest" in funds held
     in the Central Bank of Argentina's account); NML Capital, 652 F.3d at 189 (Congress understood
     "that central bank property could be viewed as the property of a foreign state, and nonetheless be
     immune •om attachment" under section 1611(b)(1)) (emphasis added). Accordingly, the existing
     restraints on Bank Markazi's property pursuant to CPLR 5222 (see Compl. 55) are invalid and must
     be vacated.

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Point E.1, supra), but even in a run-of-the-mill enforcement action not involving a sovereign

party, an allegation that a third party is an alter ego of the judgment debtor provides no basis for

a post-judginent attachment of the third party's propetry.               See JSC Foreign Econ. Ass'n

Technostroyexport v. Int'l Dev. and Trade Servs., Inc., 295 F. Supp. 2d 366, 393 (S.D.N.Y.

2003) (vacating post-judgment restraining notices pursuant to CPLR 5222 against the assets of

third parties alleged to be alter egos of the judgment debtor and allowing only restraining notices

directed at the assets of the judgment debtor itself to remain in effect).62

                                  2.       Section 1611(b)(1) Precludes Any Waiver Of Immunity
                                           From Pre-Judgment Attachment As A Matter of Law

         Section 1611(b)(1) of the FSIA precludes any waiver of the immunity of the Restrained

Bonds from pre-judgment attachment as a matter of law. Section 1611(b)(1) provides only for a

waiver of "attachment in aid of execution"          it does not provide for or contemplate a waiver of

immunity from pre-judgment attachment. 28 U.S.C. § 1611 (b)(1) (emphasis added). 63

         Congress had good reason "not to provide for waiver of prejudgment attachment of

propetry of central banks held for their own account, nad . . . it did not, in fact do so. " Weston

Compagnie de Finance Et D'Investissement, S.A. v. La Reptiblica del Ecuador, 823 F. Supp.



62
     As the court explained: "Although the plaintiff may attempt to prove the alter ego liability of [the
     alleged alter egos] as part of a judgment enforcement proceeding, their assets may not be restrained
     pursuant to [CPLR] 5222 until their alleged alter ego status has been adjudicated and their liability for
     the previous judgment determined. " Id. In other words, a judgment creditor may not use a
     restraining notice under CPLR 5222 "as an end-run around the requirements of the prejudgment
     attachment statutes." Id.
63
     In contrast, section 1610(d) of the FSIA allows sovereign agencies and instrumentalities other than
     central banks to waive the immunity of their property used for commercial purposes in the United
     States from pre-judgment attachment. See 28 U.S.C. § 1610(d)(1) (a foreign state, including the
     agencies and instrumentalities of a foreign state, may explicitly waive the immunity of property used
     for a commercial activity in the United States "from attachment prior to judgment") (emphasis
     added). However, section 1610(d) does not apply to the property of a foreign central bank because
     the immunity of central bank property is governed by section 1611(b)(1) "Notwithstanding the
     provisions of section 1610 [of the FSIA]." 28 U.S.C. § 1611 (emphasis added).

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1106, 1111 (S.D.N.Y. 1993). As a matter of law, therefore, Plaintiffs cannot avoid dismissal of

their Complaint by alleging a waiver of immunity under section 1611(b)(1).

                          G.       The Special Protection The FSIA Extends To Central Bank
                                   Property In Section 1611(b)(1) Overrides TRIA Section 201

         Given that the Restrained Bonds are immune from attachment and execution under

section 1611(b)(1) of the FSIA, the sole remaining question is whether TRIA section 201 should

be deemed to override that immunity now that those assets have been blocked. Both FSIA

section 1611(b) and TRIA section 201 include a "notwithstanding" clause, thereby creating a

conlfict. That conlfict must be resolved in favor of preserving the heightened immunity of

central bank property under FSIA section 1611(b)(1).

         Two basic principles of statutory construction suppotr this result. First, section 201 of

TRIA must be interpreted in a manner that is consistent with the overall statutory scheme

governing sovereign immunity under the FSIA. 64 See Levin v. Bank of New York, No. 09

CV5900 (RPP), 2011 WL 812032, at *10 (S.D.N.Y. Mar. 4, 2011) (TRIA section 201 "must be

read in the context of the overarching statutory scheme of the FSIA").

         TRIA section 201 does not change the basic statutory framework of the FSIA. "Section

1609 [of the FSIA] . . . provides that where a valid judgment has been entered against a foreign

sovereign, property of that foreign state is immune from attachment and execution except as

provided in the subsequent sections, Sections 1610 and 1611."                  Weinstein, 609 F.3d at 48

(emphasis in original). TRIA section 201 is "codified as a note to Section 1610 of the FSIA."

Id; accord. Weininger v. Castro, 462 F. Supp. 2d 457, 498 (S.D.N.Y. 2006) (TRIA section 201

64
     See Dodd v. U.S.,     545 U.S. 353, 365 n.4 (2005) ("Our cases make clear that when interpreting a
     particular section of a statute, we look to the entire statutory scheme rather than simply examining the
     text at issue.") (citation omitted); U.S. v. Pacheco, 225 F.3d 148, 154 (2d Cir. 2000) (courts "must
     interpret [a] specific provision in a way that renders it consistent with the tenor and structure of the
     whole act or statutory scheme of which it is a part") (internal quotation and citation omitted, alteration
     in original).

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"is appended to [FSIA] § 1610, which provides the sole bases for exceptions to immunity from

execution of property").

         Second, as the more specific provision extending special protection to the property of a

foreign central bank held for its own account, FSIA section 1611(b)(1) must take precedence

over TRIA Section 201, which applies generally to the assets of "any agency or instrumentality"

of a "terrorist patry. " See Busic v. U.S., 446 U.S. 398, 406 (1980) ("[A] more specific statute

will be given precedence over a more general one, regardless of their temporal sequence.")

(emphasis added); Creque v. Luis, 803 F.2d 92, 95 (3rd Cir. 1986) (more specific statutory

provision took precedence over more general provision even where the latter was enacted later in

time and purported to apply "notwithstanding any other provision of law").

         FSIA section 1611(b) expressly provides that immunity under that provision controls

" [n]otwithstanding the provisions of Section 1610. " 28 U.S.C. § 1611 (b) (emphasis added). As

the Second Circuit explained in NML Capital, "even if [FSIA] § 1610 would otherwise bring

foreign state property within the jurisdiction of a court, §1611(b)(1) overrides [the] exceptions in

§ 1610. " NML Capital, 652 F.3d at 186-87 (intenral quotation and citation omitted); accord.

Banque Compafina v. Banco de Guatemala, 583 F. Supp. 320, 321 (S.D.N.Y. 1984) ("Section

1610 provides some exceptions to this general rule [of immunity under section 1609], but §

1611(b)(1) overrides these exceptions.").

         The heightened immunity of central bank propetry under FSIA section 1611(b)(1)

relfects a Congressional policy determination that central banking assets should receive special

protection from attachment and execution. See NML Capital, 652 F.3d at 188 (the FSIA does

not treat "foreign central banks . . . as generic 'agencies nad instrumentalities' of a foreign state"

but rather extends "special protections" to central banks "befitting the particular sovereign



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interest in preventing the attachment and execution of central bank property") (intenral quotation

and citation omitted).

          While subsection (a) of TRIA section 201 likewise includes a "notwithstanding" clause,

providing that it applies "[n]otwithstanding any other provision of law," the legislative history of

section 201 "suggests that Congress placed the 'notwithstanding' clause in § 201(a) . . . to

eliminate the effect of any Presidential waiver issued under 28 U.S.C. § 1610(f) prior to the date

of the TRIA's enactment. " Ministry of Defense and Support for the Armed Forces of the Islamic

Republic of Iran v. Elahi, 556 U.S. 366, 386 (2009). It is thus clear that Congress's inclusion of

a "notwithstanding" clause in subsection (a) of TRIA section 201 was not intended to alter the

basic statutory framework of the FSIA whereby the immunity of central bank property under

section 1611(b)(1) overrides any exception to immunity pursuant to section 1610. 65

         Plaintiffs nevertheless claim that TRIA section 201 should be deemed to override the

heightened immunity of central bank property under section 1611(b)(1) of the FSIA. In doing

so, they rely on a single case from this district, Weininger v. Castro, 462 F. Supp. 2d 457

(S.D.N.Y. 2006). There, Judge Marrero concluded that "TRIA, which was enacted later in time

than [FSIA] § 1611, overrides the immunity conferred in § 1611." Id. at 499.

         Importantly, however, neither the Central Bank of Cuba nor any of the other sovereign

defendants in Weininger appeared in that case to contest jurisdiction under the FSIA. See id. at

463 ("None of the judgment debtors has appeared at any stage of these proceedings."). The

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     Unlike the Peterson Plaintiffs, certain Third Party Respondents purport to have obtained default
     judgments against Iran pursuant to FSIA section 1605A. See, e.g., Acosta Judgment Creditors'
     December 16, 2011 Amended Answer to Third-Party Petition, Counterclaim and Crossclaim, ¶ 60.
     On that basis, they appear to have taken the position that they are entitled to attach and execute
     against the Restrained Bonds pursuant to FSIA section 1610(g). See id. 100. That argument fails.
     The heightened immunity of central bank property pursuant to FSIA section 1611(b)(1) overrides any
     exception to immunity pursuant to FSIA section 1610(g), as FSIA section 1611(b), by its plain terms,
     affords immunity "Notwithstanding the provisions of Section 1610." 28 U.S.C. § 1611(b)
     (emphasis added).

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Weininger court thus was not presented with, nor did it consider, the arguments Bank Markazi

has raised in this Motion. Indeed, the court addressed the immunity of central bank property

under FSIA section 1611(b)(1) only brielfy in the course of a lengthy opinion addressing a host

of other issues.

         Accordingly, Weininger is of little, if any, precedential value here. On the contrary, the

Weininger court's conclusion TRIA section 201 "overrides the immunity conferred in [FSIA] §

1611" is incompatible with the overall structure of the FSIA and the plain terms of section

1611(b)(1).66

         The Complaint must be dismissed. Control of the assets at issue in this case will, of

course, remain with the United States Government pursuant to the Executive Order.




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     Fi• nally, Plaintiffs' reliance on section 1610(f)(1)(A) of the FSIA, which purports to subject any
     property subject to prohibitions or regulations pursuant to the TWEA or the IEEPA to attachment in
     aid of execution of a terrorism-related judgment, is unavailing. Pursuant to express Congressional
     authorization, President Clinton waived the application of section 1610(f)(1)(A). Presidential
     Determination no. 99-1, 63 Fed. Reg. 59,201 (Oct. 21, 1998); Presidential Determination No. 2001-
     03, 65 Fed. Reg. 66483 (Oct. 28, 2000). Therefore, section 1610(f)(1)(A) never became effective and
     "remains a nullity." Bennett v. Islamic Republic of Iran, 604 F. Supp. 2d 152, 161 (D.D.C. 2009).

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                                         CONCLUSION

         For all of the foregoing reasons, Bank Markazi respectfully requests that the Court grant

this Motion to Dismiss.

Dated:          New York, New York
                March 15, 2012

                                         RespectfuTh



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